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                         CRIMINAL MINUTES

2:19-cr-53
USA v. Andrew K. Mitchell
(Custody)


             Arraignment on Superseding Indictment



                Hearing held on Thursday, 4/25/2019
                              9:00 a.m.
              before Chief Judge Edmund A. Sargus, Jr.

For Govt: Jessica Kim

For Deft: Mark Collins

Court Reporter: Darla Coulter

Courtroom Deputy: Christin Werner

     Defendant entered a plea of not guilty to counts 1-9 and the
     forfeiture allegation of the Superseding Indictment.
     Trial scheduled for 9/16/2019 at 9:00 a.m.
